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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                     IN THE UNITED STATES DISTRICT COURT                       August 01, 2018
                      FOR THE SOUTHERN DISTRICT OF TEXAS                      David J. Bradley, Clerk
                               HOUSTON DIVISION

ENERGY INTELLIGENCE GROUP, INC.                §
and ENERGY INTELLIGENCE GROUP                  §
(UK) LIMITED,                                  §
                                               §
                     Plaintiffs,               §
                                               §
v.                                             §        CIVIL ACTION NO. H-14-1903
                                               §
KAYNE ANDERSON CAPITAL                         §
ADVISORS, LP and KA FUND                       §
ADVISORS, LLC,                                 §
                                               §
                     Defendants.               §



                           MEMORANDUM OPINION AND ORDER

        Energy Intelligence Group, Inc. and Energy Intelligence Group

(UK) Limited (together, "Plaintiffs" or "EIG") sued Kayne Anderson

Capital        Advisors,    LP     and   KA     Fund    Advisors,   LLC     (together,

"Defendants" or "Kayne")            for violations of the Copyright Act, 17

U.S.C.    §   106, and the Digital Millennium Copyright Act ("DMCA"), 17

U.S.C.    §§    1202-03.    Pending before the court is Defendants' Motion

for Costs Pursuant to Rule               68    ("Defendants'    Motion for Costs")

(Docket Entry No.          314),    Plaintiffs'        Memorandum in Opposition to

Defendants'       Motion for Costs            ("Plaintiffs'    Opposition")      (Docket

Entry No. 324),       Defendants' Reply in Support of Their Motion for

Costs    Pursuant     to    Rule    68    ("Defendants'       Reply") (Docket       Entry

No. 328), and Plaintiffs' Sur-Reply Opposing Defendants' Motion for

Costs    ("Plaintiff's Sur-reply") (Docket Entry No.                390).       For the

reasons stated below, Kayne's Motion for Costs will be GRANTED IN

PART and DENIED IN PART.
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                                    I .    Background

        A detailed history of the parties' business relationship as

related to the present litigation is provided in a prior opinion. 1

In short, EIG alleged that Kayne copied and distributed Oil Daily,

a subscription newsletter published by EIG, in violation of EIG's

subscription        agreements. 2         From     at   least    2004    to     2013   Kayne

purchased a        single      annual     subscription to Oil           Daily    for   Kayne

employee, Jim Baker.            That subscription was routinely forwarded to

Kayne employees and others who were not subscribers.                          In 2013 Kayne

entered into a multi-user license agreement with EIG, paying for

five Kayne employees to receive Oil Daily.                       But EIG alleged that

Kayne       continued to distribute unauthorized copies of Oil                         Daily

until at least May 21,             2014.      On July 8,        2014,    EIG filed this

action against Kayne for copyright infringement and for violations

of the DMCA.

        This case was the subject of a four-day jury trial held from

December 4-7,        2017. 3     The jury found that Kayne infringed 1,646

individual Oil Daily works between December 29, 2004, and July 8,

2014,       and awarded $15,000.00 in statutory damages for each work


        1
            Memorandum Opinion and Order, Docket Entry No. 68.
        2
      Plaintiffs'   Second   Amended   Complaint    for   Copyright
Infringement,   Contributory Copyright    Infringement,   Vicarious
Copyright Infringement, and Violation of the Integrity of Copyright
Management Information, Docket Entry No. 38.
        3
      Courtroom Minutes for                the     four-day     trial,    (Docket      Entry
Nos. 261, 264, 267, 269).

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infringed. 4        The jury found that EIG knew or should have known on

or before July 8, 2011, that Kayne was infringing their copyrights

of Oil Daily; 5 that Kayne fraudulently concealed their copying of

Oil    Daily and that        EIG failed to discover the                 copying despite

exercising due diligence; 6 but that EIG failed to mitigate their

damages 7 and could have avoided 1,607 acts of infringement had EIG

used reasonable diligence to mitigate their damages. 8                        With respect

to EIG' s       DMCA claims,      the    jury found      that       Kayne   intentionally

removed or altered copyright management information for Oil Daily

a total of 425 times having reasonable grounds to know that it

would         induce,    enable,        facilitate,       or        conceal     copyright

infringement. 9         The jury did not find that Kayne distributed Oil

Daily knowing that the copyright management information had been
                                                               10
removed or altered without EIG's permission,                        or that EIG knew or

should       have   known   on   or     before    July   8,    2011,    that    Kayne   was

intentionally removing or altering copyright management information

for Oil Daily or distributing Oil Daily knowing that the copyright


        4
            Verdict, Docket Entry No. 271, Questions 1 and 2 .
        5
            Id. at Question 3.
        6
            Id. at Question 4 .
        7
            Id. at Question 6.
        8
            Id. at Question 7 .
        9
            Id. at Questions 8 and 10.
        lOid. at Question 9.

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management information had been removed or altered without EIG's

permission. 11             The jury awarded $2,500 in statutory damages for each
                                                       12
of Kayne's 425 violations of the DMCA.                       But the jury also found

that EIG failed to mitigate their DMCA damages, 13 and that EIG could

have avoided all 425 DMCA violations had reasonable diligence been

used to mitigate damages. 14

         Following trial Kayne filed Defendants' Motion for Attorney's

Fees and Costs               (Docket Entry No.     287), and EIG filed Plaintiffs'

Motion         for        Post-Judgment   Relief    (Docket       Entry    No.   289),     and

Plaintiffs' Application for Attorney's Fees (Docket Entry No. 290).

In   a    May        2,    2018,   Memorandum Opinion       and    Order    (Docket      Entry

No. 312), the court denied Kayne's Motion for Attorney's Fees and

Costs and EIG's Motion for Post-Judgement Relief,                          and granted in

part and denied in part EIG's Application for Attorney's Fees.                             The

court entered a Final Judgment (Docket Entry No. 313) awarding EIG

statutory damages in the amount of $585,000.00; attorney's fees in

the amount of $4,241,306.88; costs in the amount of $75,000.00, and

post-judgment interest on such amounts at the rate of 2.25% per

annum.




         11
              Id. at Question 11.

         12Id. at Questions 14 and 15.
         13
              Id. at Question 13.

         14Id. at Question 14.

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                                II.   Analysis

       Citing Federal Rule of Civil Procedure 68 and a February 21,

2017, offer of judgment that EIG rejected, Kayne moves for

       (1) a reduction in the amount of costs due to Plaintiffs
       under the Final Judgment of $1,692,748 (consisting of a
       reduction in attorneys'     fees of $1,650,748 and a
       reduction in other costs of $42,000), and (2) an award of
       costs in favor of Defendants in the amount of $3,282,054
       (consisting of $2,918,474 in attorneys' fees and $363,580
       in other costs) . 15

EIG responds that Kayne's motion for costs should be denied as

untimely,       that Kayne is not entitled to recover attorney's fees

under Rule 68 because it is not a prevailing party, and that even

if Rule 68 shifts Kayne's post-offer attorney's fees to EIG, Kayne

should not be able to recover its unreasonably incurred attorney's

fees and costs. 16


A.     Applicable Law

       Rule 68 states in pertinent part:

       (a)     Making an Offer.    . At least 14 days before the
               date set for trial, a party defending against a
               claim may serve on an opposing party an offer to
               allow judgment on specified terms, with the costs
               then accrued.

       (b)     Unaccepted Offer.      Evidence of an unaccepted
               offer is not admissible except in a proceeding to
               determine costs.




       15
            Defendants' Motion for Costs, Docket Entry No. 314, p. 1.
       16
            Plaintiffs' Opposition, Docket Entry No. 324.

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        (d)     Paying Costs After an Unaccepted Offer.      If the
                judgment that the offeree finally obtains is not
                more favorable than the unaccepted offer, the
                offeree must pay the costs incurred after the offer
                was made.

        Under Rule 68 a prevailing plaintiff is required to pay the

costs    of         the   litigation     if     the   plaintiff     fails   to   accept   a

defendant's           offer of       judgment    that   is more      favorable   than the

judgment the plaintiff ultimately obtains.                        Delta Air Lines, Inc.

v. August, 101 S. Ct. 1146, 1149-50 (1981).                         The language of Rule

68 is mandatory; where the rule operates,                      it leaves no room for

district court discretion.                Id. at 1151.       The purpose of Rule 68 is

to encourage settlement of litigation.                        Id.   at 1150.     See also

Johnston v. Penrod Drilling Co., 803 F.2d 867, 869 (5th Cir. 1986)

("When it is likely that the plaintiff will obtain a judgment but

the amount of such judgment is uncertain,                       the rule provides the

plaintiff an additional incentive to settle the case by creating

the possibility that the plaintiff will 'lose some of the benefits

of victory if his recovery is less than the offer.'")                             (quoting

Delta,        101    S.   Ct.   at    1150).      "If   a   plaintiff    takes   nothing,

however, Rule 68 does not apply."                     Louisiana Power & Light Co. v.

Kellstrom, 50 F.3d 319, 333 (5th Cir.)                      (per curiam). cert. denied

sub nom. L.K. Comstock & Co., Inc. v. Louisiana Power & Light Co.,

116 S. Ct. 173 (1995).




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        Rule 68 does not define "costs."           Observing that "it is very

unlikely that this omission was mere oversight;" Marek v. Chesny,

105 S. Ct. 3012, 3016 (1985), the Supreme Court has stated that

        the most reasonable inference is that the term "costs" in
        Rule 68 was intended to refer to all costs properly
        awardable under the relevant substantive statute or other
        authority. In other words, all costs properly awardable
        in an action are to be considered within the scope of
        Rule 68 "costs." Thus, absent congressional expressions
        to the contrary, where the underlying statute defines
        "costs" to include attorney's fees, we are satisfied such
        fees are to be included as costs for purposes of Rule 68.

Id.      See   also   International    Nickel     Co. ,   Inc.    v.   Trammel    Crow

Distribution Corp., 803 F.2d 150, 157 n. 2                (5th Cir. 1986)        ("Rule

68 serves only to prevent the plaintiff from recovering costs that

would normally be his under [Rule] 54(d) .").



B.      Application of the Law to the Facts

        1.     Kayne's Rule 68 Motion is Not Untimely

        EIG argues that Kayne's motion for costs should be denied as

untimely       because   Federal   Rule    of    Civil    Procedure     54 (d) (2) (B)

provides that a claim for attorney's fees and non-taxable expenses

must    be made    within   fourteen      days   after    the    entry of    judgment

"[u]nless a statute or court order provides otherwise." 11                  Asserting

that Kayne's motion is untimely because the court set a deadline of

January 8, 2018, for filing motions for costs and fees, EIG argues:



        17
       Id. at 7 (emphasis in original).             See also Plaintiffs' Sur-
reply, Docket Entry No. 390, pp. 1-5.

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      On December 7, 2017, following dismissal of the jury, the
      Court specifically addressed the issue of Kayne's offers
      of judgment and recovery of attorney's fees, and ordered
      the parties to submit briefs on these issues within
      thirty days, by January 8, 2018.     (D.E. 284 at 78:24-
      79:12; 75:25-80:11.) See also D.E. 269 (December 7, 2017
      Courtroom Minutes ordering that all "[p]ost-verdict
      motions shall be filed within thirty (30) days.").     The
      Court's approach was consistent with its earlier
      deadlines set relating to the parties' motions for
      attorney's fees.   During the October 12, 2017[,] docket
      call, the Court informed both parties that it intended to
      resolve the issue of attorney's fees prior to the entry
      of final judgment.    (D.E. 258 at 27:13-18.)    When the
      Court ordered EIG to provide documentation supporting its
      fee request to Kayne prior to trial, counsel for
      Defendants inquired whether the same deadline would apply
      to Kayne's Rule 68 motion, and the Court affirmed.    (Id.
      at 24:4-6, 15-21.) 18

EIG argues that "the Court properly set a schedule for briefing

attorney's fees and costs, including those under rule 68, and Kayne

ignored the deadline. " 19

      Kayne responds that its Rule 68 motion is timely because it

was filed within 14 days of entry of the Final Judgment as required

by Rule 54 (d) (2) (B) . 20   Asserting that "Rule 68 does not apply when

the defendant prevails, " 21 Kayne argues that " [ d] efendants could not

file their Rule 68 motion until the prevailing party status and the

amount of the judgment were decided." 22




      18
           Plaintiffs' Opposition, Docket Entry No. 324, pp. 7-8.
      19
           Plaintiffs' Sur-reply, Docket Entry No. 390, p. 5.
      20
           Defendants' Reply, Docket Entry No. 328, p. 2.
      21
           Id. at 3.



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        Although the court set a deadline of January 8,                            2018,      for

filing motions for attorney's fees, the court is not persuaded that

the deadline makes Kayne's Rule 68 motion untimely.                             On January 8,

2018, in compliance with the court's deadline, the plaintiffs and

the    defendants        filed    cross-motions           for    attorney's     fees     as   the

prevailing party. 23            In their motion Kayne stated, "after entry of

Final Judgment, Defendants will likely seek their costs, including

their attorney's fees incurred after one of the numerous Rule 68

Offers of Judgment all refused by Plaintiffs." 24                        Without objecting

or arguing that a later-filed Rule 68 motion would be time barred,

would cause prejudice, or otherwise be improper, EIG acknowledged

in their response to Kayne's motion for attorney's fees that Kanye

"may also        submit     a   motion   for    its       fees    and   costs    pursuant      to

Federal        Rule    of   Civil   Procedure        68     following     entry     of    final

judgment." 25         Because in the motions filed on January 8, 2018, both

the plaintiffs and the defendants argued that they were entitled to

attorney's fees as the prevailing party, because Rule 68 does not

apply when the defendant prevails, because EIG did not object to

Kayne's stated intent to file a Rule 68 motion at a later date, and

because Kayne's Rule 68 motion was filed within 14 days of the

court's entry of Final Judgment as required by Rule 54 (d) (2) (B) (i),

the court concludes that Kayne's Rule 68 motion is not untimely.


        23
      See Defendants' Motion for Attorney's Fees and Costs, Docket
Entry No. 287, and Plaintiffs' Application for Attorney's Fees,
Docket Entry No. 290.
        24
      Defendants' Motion for Attorney's                          Fees   and Costs,       Docket
Entry No. 287, p. 6 n.1.
        25
             See Plaintiffs' Opposition, Docket Entry No. 298, p. 6 n.1.

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       2.     EIG is Not Entitled to Recover Costs Incurred After
              Kayne's February 21, 2017, Offer of Judgment

       On    February   21,        2 017,     Kayne   extended   a    Rule   68    offer   of

judgment to EIG for "the amount of $5,000,000.00 plus $300,000.00

to fund a      copyright      infringement ad campaign. " 26                 EIG does not

dispute that Kayne's February 21, 2017, offer of judgment complied

with Rule 68, that EIG refused Kayne's offer of judgment, or that

as applied to the court's Final Judgment, Kanye's offer of judgment

requires      the   court     to     reduce     EIG' s   award   of   costs,       including

attorney's fees,        by amounts that EIG incurred after the offer of

judgment.      Nor does EIG dispute that Rule 68 operates to reduce the

costs awarded to EIG by $42,000.00 to a total of $33,000.00, and

the attorney's fees awarded to EIG by $1,692,748.00 to a total of

$2,590,558.43.       The Final Judgment will be so amended.



       3.     Kayne Is Entitled to Recover Its "Properly Awardable"
              Post-Offer Costs

       Kayne argues that Rule 68 entitles them to recover post-offer

costs of $3,282,054.00,               consisting of $2,918,474 for attorney's

fees   and    $363,580.00          for      other   costs   including    "$11, 979.00      in

taxable costs under 28 U.S.C. § 1920, as well as                        [an]      additional

$351,604.00 in costs recoverable under 17 U.S.C. § 505, which (as


       26
      Defendants' Motion for Costs, Docket Entry No. 314, p. 2.
See also Declaration of Galyn Gafford, Exhibit A to Defendants'
Motion for Costs, Docket Entry No. 314-1, p. 2 ~4, and Exhibit 1
thereto, Defendants' Rule 68 Offer of Judgment, Docket Entry
No. 314-2.

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this court has already held) are not limited to costs recoverable

under Section 1920.            (Dkt.   No.   312,   p.   65) ." 27   Asserting that

" [a] 11 of these costs are reasonable and necessary, " 28 Kayne argues:

     Defendants incorporate by reference the arguments made
     regarding these fees in Defendants' original Motion for
     Attorney's Fees (Dkt. No. 287) with its attachments
     including the Mueller      Declaration  (and supporting
     invoices) and the Friedman Declaration (and supporting
     invoices) .  In support of the taxable costs under 2 8
     U.S.C. § 1920, Defendants incorporate by reference the
     Bill of Costs attached as Exhibit A to Defendants'
     original Motion for Attorney's Fees (Dkt. No. 287).     In
     support of the additional reasonable and necessary costs
     awardable under 17 U.S.C. § 505, Defendants have attached
     the Declarations of Jason Mueller and Kody Kleber. These
     declarations set forth that these additional costs
     incurred were reasonable and necessary.     . and provide
     the documentary evidence of the costs incurred.      29

     EIG does not dispute that Kayne is entitled to recover its

post-offer costs, but argues that

     Kayne's demand for costs is substantially comprised of
     expenses that are excessive, unreasonable and unnecessary
     for  litigation of this      case-specifically,   Kayne's
     spending over $235,000 to retain four separate jury
     consulting companies to conduct numerous jury focus
     groups and mock trials.     Any award of costs to Kayne
     should, at a minimum, be substantially reduced through
     the deduction of these expenses. 30

EIG also argues that Kayne is not entitled to recover post-offer

attorney's fees because Kayne is not a prevailing party. 31



     27
          Defendants' Motion for Costs, Docket Entry No. 314, pp. 7-8.
     28
          Id. at 8.
     29Id.

     30
          Plaintiff's Opposition, Docket Entry No. 324, p. 7.
     31
          Id.   at 7, 13-15.

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                (a)     Kayne Is Not Entitled to Post-Offer Attorney's Fees

       Citing         Marek, 105 S. Ct. at 3012, and Jordan v. Time, Inc.,

111 F.3d 102, 105 (11th Cir. 1997)            (per curiam), Kayne argues that

defendants       should recover their attorney's        fees   incurred after

February 21, 2017. 32        EIG responds that defendants are not entitled

to recover attorney's fees incurred following the offer of judgment

because defendants are not the prevailing party. 33             EIG argues:

       The clear weight of authority in the Fifth Circuit and
       nearly every other Circuit that has considered the issue
       demonstrates that, in order for a defendant to recover
       attorney's fees under Rule 68, they must be "properly
       awardable" to the defendant by the underlying statute.
       Under the Copyright Act, attorney's fees are only
       properly awardable to the prevailing party.      As this
       Court has ruled that EIG is the prevailing party, Kayne
       cannot recover its attorney's fees. 34

       In Marek, 105 S. Ct. at 3012, the Supreme Court held that a

prevailing civil rights plaintiff who recovered an amount less than

the defendant's Rule 68 offer of judgment,              cannot recover post-

offer attorney's fees pursuant to 42 U.S. C.             §   1988.   The Court

based this holding on its determination that the term "costs" in

Rule 68 refers to "all costs properly awardable under the relevant

substantive statute or authority."            Id. at 3016.   Because 42 U.S.C.

§   1988 permits a prevailing plaintiff to recover "a reasonable



       32
        Defendants' Motion for Costs, Docket Entry No. 314, pp. 1,
3-8.    See also Defendants' Reply, Docket Entry No. 328, pp. 5-6.
       33
            Plaintiff's Opposition, Docket Entry No. 324, p. 7, 13-15.



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attorney's fee as part of the costs," the Court held that "such

fees are subject to the cost-shifting provision of Rule 68."                          Id.

at 3016-17.

      Although      Marek     precludes      a       prevailing    plaintiff          from

recovering attorney's fees incurred after having rejected a Rule 68

offer of judgment, because the defendants in that case failed to

appeal    the   district     court's     order       denying    their       request    for

attorney's fees,       the Marek Court did not address whether Rule 68

imposes the losing defendant's post-offer fees upon a prevailing

plaintiff.      Id. at 3014 n. 1.         Most courts -        including the Fifth

Circuit - that have considered this issue in the context of civil

rights actions, have held that losing defendants have no right to

recover    their     post-offer      attorney's        fees    from     a    prevailing

plaintiff.      See Equal Employment Opportunity Commission v. Bailey

Ford , Inc . , 2 6 F . 3d 57 0 , 57 1 ( 5th Ci r. 1 9 9 4 )    (per curiam)      ( citing

Crossman v. Marcoccio, 806 F.2d 329 (1st Cir. 1986), cert. denied,

107 S. Ct. 1955       (1987)).     Courts denying defendants the right to

recover post-offer attorney's fees have observed that while Marek

held that the term "costs" as used in Rule 68 includes attorney's

fees where authorized by statute, Marek, also held that attorney's

fees as costs are recoverable only if they are "properly awardable"

under the relevant substantive statute.                 See Crossman, 806 F.2d at

334 (holding that because 42 U.S.C.              §   1988 awards costs only to a

prevailing party,       and because appellees were not the prevailing


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party, "appellees' attorney's fees were not                           'properly awardable'

costs as defined by section 1988 and, therefore, were not part of

the costs shifted to plaintiff by the operation of Rule 68") .

Thus,      in civil rights            cases where costs and fees               are properly

awardable only to the prevailing party,                           a defendant who has not

prevailed           is     not   entitled    to    attorney's       fees    when   seeking   to

collect costs under Rule 68.                             See also Hescott v.          City of

Saginaw,         757 F.3d 518,        528-31      (6th Cir.       2014)    ("[W]e join those

circuits in concluding that a losing civil-rights defendant cannot

recover its post-offer attorneys' fees under Rule 68 because such

a party does not satisfy the requirements for a fee award under

§   198 8 • II) •

         Under the Copyright Act,                 as under    §    1988,    costs include an

award of a reasonable attorney's fee to a prevailing party.                                  17

U.S.C.       §      505;    Fogerty v.      Fantasy,     Inc.,     114 S.    Ct.   1023,   1027

(1994).          Section 505 states:

        In any civil action under this title, the court in its
        discretion may allow the recovery of full costs by or
        against any party other than the United States or an
        officer thereof.   Except as otherwise provided by this
        title, the court may also award a reasonable attorney's
        fee to the prevailing party as part of the costs.

17 U.S.C.           §   505.     The Fifth Circuit has not yet addressed whether

a losing defendant in a copyright case is entitled to an award of

attorney's fees incurred following a Rule 68 offer of judgment that

exceeds the amount ultimately recovered by a prevailing plaintiff.

Although there is a split of authority, the majority position is

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that because the Copyright Act provides for an award of fees only

to the prevailing party, non-prevailing defendants cannot recover

attorney's fees as part of their Rule 68 costs.                        See Harbor Motor

Company, Inc. v. Arnell Chevrolet-Geo, Inc., 265 F.3d 638, 647 (7th

Cir. 2001); UMG Recordings, Inc. v. Shelter Capital Partners LLC,

718 F.3d 1006, 1034           (9th Cir. 2013); Boisson v. Banian Ltd.,                221

F.R.D.     378,    380-82    (E.D.N.Y.   2004);        Bruce v.    Weekly World News,

Inc., 203 F.R.D. 51, 54-56 (D. Mass. 2001).

      In    Harbor     Motor,    265     F.3d    at     638,    the    Seventh    Circuit

analogized cases arising under the Copyright Act to those arising

in the context of        §   1988.   Because both statutes include an award

of attorney's fees as part of the costs, but only to a prevailing

party,     the court held that a non-prevailing defendant could not

recover attorney's fees pursuant to Rule 68 because attorney's fees

could not be properly awarded under such circumstances.

645-47.     In Jordan,       111 F.3d at 102,          the Eleventh Circuit took a

contrary position.           There the defendant made a Rule 68 offer of

judgment that exceeded the amount ultimately awarded to plaintiff

on a copyright infringement claim.                    Id. at 104.      In a per curiam

opinion, the Eleventh Circuit awarded defendant all attorney's fees

incurred after the making of the Rule                     68 offer.       Id.    at 105.

Unlike Harbor Motor, however, the Jordan court failed to considered

Marek's "properly awardable" language and, instead focused only on

the   Marek       Court's    observation        that    "Rule     68   'costs'    include


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attorneys'        fees when the underlying statute so prescribes.                         The

Copyright Act so specifies."                 Id.     (citing Marek,        105 S. Ct.      at

3016-17) .        The Jordan court neither mentioned "Marek's limiting

language that Rule 68             'costs'   include attorneys'             fees only when

fees are properly awardable under the relevant statute[,                                 n]or

      . examine[d] the Copyright Act's restriction that attorneys'

fees may be awarded only to a prevailing party."                      Hescott, 757 F.3d

at 529-30 (citing Jordan, 111 F.3d at 105, and stating: "We are not

the first court to point out these shortcomings, nor the first to

avoid relying on Jordan as a result.").                 See also Bruce, 203 F.R.D.

at 56 (criticizing Jordan for interpreting "Rule 68 as providing a

substantive gloss on the provisions of the Copyright Act," that

"virtually compel[s] copyright plaintiffs                           . to accept an Offer

of Judgment no matter how meritorious may be their case, for fear

of   resulting         exposure   to what    are     often,    as     here,     substantial

claims      of    attorney's      fees").      Finding        the    Seventh        Circuit's

analysis         in   Harbor   Motor   more        persuasive       than      the    Eleventh

Circuit's analysis in Jordan, the court concludes that defendants

are not entitled to recover post-offer attorney's fees because, for

the reasons           stated in the May 2,          2018,   Memorandum Opinion and

Order,      the court has already held that the prevailing party is

EIG. 35



       35
      Memorandum Opinion and Order, Docket Entry No. 312, pp. 35-
44, 62, and 67.

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                  (b)   Kayne Is Entitled to Reasonable Post-Offer Costs
                        Other than Attorney's Fees

        Defendants' Rule 68 motion seeks an award of costs other than

attorney's          fees      in   the     amount           of    $363,580.00         consisting    of

$11,979.00 in taxable court costs under 28 U.S.C.                                     §   1920, and an

additional amount of "$351,604[.00] in costs recoverable under 17

U.S.C.       §   505." 36   Because EIG does not dispute that $11,979.00 of

the costs that Kayne seeks are allowable under                                §   1920, the court

concludes that Kayne is entitled to recover that amount of costs.

See Johnston,           803     F. 2d at       8 69      ("Rule    68   operates to require a

prevailing plaintiff to pay the costs of the litigation .                                        .").

At issue is whether Kayne is entitled to recover costs that are not

taxable court costs under                  §   1920.

        For the reasons stated in the May 2, 2018, Memorandum Opinion

and Order, the court has concluded that 17 U.S.C.                                 §   505 authorizes

an award of costs that is broader in scope and not limited to the

categories of costs allowable under 28 U.S.C. § 1920. 37                                     The court

is nevertheless not persuaded that Kayne should be awarded costs

beyond those allowed under                     §    1920.        EIG specifically argues that

the     amounts         Kayne      seeks           for   jury      research       ($235,000),      for

"Copyright Office Retrieval and Correspondence" ($10,575.00), and


        36
      Defendants' Motion for Costs, Docket Entry No. 314, p. 7.
Kayne seeks $351,604.00, but subtracting taxable costs from
363,580.00 yields 352,601.00.
        37
             Memorandum Opinion and Order, Docket Entry No. 312, pp.                               64-
65.

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for   a     post-verdict     victory   party    ($311. 68)    are   excessive    and

unreasonable. 38       In reply Kayne acknowledges that "Plaintiffs are

correct that the cost for the post trial 'victory party' should not

have been included [in]                 the amount of costs sought, " 39 but

argues that "Plaintiffs do not offer any objection to $117,694 of
                                                1140
reasonable and necessary costs

      EIG argues that Kayne's costs incurred for jury research are

excessive and unreasonable because "Kayne retained four different

jury consulting companies and paid them a total of approximately

$235,00[.00] ." 41     Because for the reasons stated in the May 2, 2018,

Memorandum Opinion and Order, the court has already concluded that

this litigation was "not particularly complex given the ability and

experience      of     the   attorneys," 42    Kayne's     expenditure   of     over

$235,000.00      for    four   different      jury     consulting   companies   was

unreasonable and excessive and therefore will not be allowed.



      38
       Plaintiff's Opposition, Docket Entry No. 324, pp. 7, 21-25
(citing Exhibit 1 to Declaration of Jason Mueller, Docket Entry
No. 314-4, p. 18 as containing a line item entry of $311.68 for a
"victory celebration with client."). EIG also argues that Kayne's
redacted expense records frustrate the determination of whether
Kayne's costs were reasonable, see id. at 25, but Kayne has since
clarified that "Defendants redacted the expenses for which they are
not moving." Defendants' Reply, Docket Entry No. 328, p. 8.
      39
           Defendants' Reply, Docket Entry No. 32 8, p. 8 n. 1.
      4oid.

      41
           Plaintiff's Opposition, Docket Entry No. 324, p. 21.
      42
           Memorandum Opinion and Order, Docket Entry No. 312, p. 60.

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      EIG argues that Kayne's costs incurred for "Copyright Office

Retrieval and Correspondence" were not necessary for litigating

this case because the reimbursement for these costs is "dated May

30, 2017, which falls within the briefing period for Kayne's May 3,

2017[,] Motion for          [R]eferral to the Register of Copyrights, and

these costs were incurred in connection with Kayne's preparation of

that motion. " 43        For    the    reasons        stated in the             July 26,        2017,

Memorandum       Opinion       and    Order     (Docket           Entry   No.     248)      denying

Defendants'      Motion      for     Referral     to        the    Register      of Copyrights

Pursuant to 17 U.S.C. § 411(b) and a Concurrent Stay (Docket Entry

No. 204), Kayne's expenditures for "Copyright Office Retrieval and

Correspondence"        were     unnecessary           for    litigating         this      case     and

therefore will not be allowed.

      There remains an amount of $105,715.00 that defendants seek as

reasonably and necessarily incurred costs. 44                        However, missing from



      43
           Plaintiff's Opposition, Docket Entry No. 324, p. 24.
      44
           The following table shows the calculations for this amount:
                           Costs Kanye Seeks                                           Amount

Kayne seeks costs other than Attorney's Fees in amount of $363,580.00                     $363,580.00
(DE 314, pp. 1 and 7).

EIG objects and the court agrees that $235.000.00 is unreasonable and                    ($235,000.00)
excessive for jury consultants (DE 324 pp. 21-24).

Subtotal                                                                                  $128,580.00

EIG objects and the court agrees that $10,575.00 is unreasonable and                      ($10, 575.00)
excessive for Copyright Office Retrieval and Correspondence (DE 324,
pp. 24-25).

Subtotal                                                                                  $118,005.00

Kayne acknowledges that $311.00 for "victory party" should not have                          ($311.00)
been included in cost request (DE 328, p. 8 n. 4) .

Subtotal                                                                                  $117,694.00

Costs Kayne asserts are taxable under 28 U.S.C. § 1920, and to which                      ($11,979.00)
EIG does not object (DE 314, p. 7).

Remaining amount of costs that Kayne seeks.                                               $105,715.00




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defendants' briefing and from the affidavits that defendants have

submitted in support of their motion for costs is a traditional

bill of costs, an analysis, or an explanation of the specific costs

that make up this amount.           Despite the fact that the court's May 2,

2018,        Memorandum Opinion      and   Order,        criticized plaintiffs        for

interspersing billing records for costs with billing records for

attorney's fees, and failing to submit detailed descriptions of the

costs being sought,            evidence,   or analysis from which the court

could conclude that costs beyond those taxable under 28 U.S. C.
                                                                    45
§   1920 were reasonable or necessarily incurred,                        defendants have

done the same, i.e., interspersed billing records for costs with

billing records for attorney's fees,                     and failed to provide the

court a detailed description of the costs being sought, evidence,

or analysis that would allow the court either to distinguish costs

that are taxable under 28 U.S.C.            §   1920 from those that are not, or

to conclude that any costs beyond those taxable under § 1920 were

reasonable or necessarily incurred defending this case after the

February 21, 2017, offer of judgment was made.                       In a case of this

magnitude the court is neither able nor inclined to undertake the

missing analysis, and currently has no basis on which to conclude

that     the     costs   the    defendants        seek    are   reasonable      or   were

necessarily incurred defending this action after the February 21,

2017, offer of judgment was made.               Accordingly, the court concludes

that defendants should only be awarded $11,979.00 in costs that

they acknowledge are taxable under 28 U.S.C.                    §   1920.



        45
             Memorandum Opinion and Order, Docket Entry No. 312, pp. 66-
67.

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                         III.      Conclusions and Order

       For   the   reasons      discussed   in   §    I I. B. 1,   above,     the   court

concludes that defendants' Rule 68 motion is not untimely.                            For

the reasons discussed in§ II.B.2, above, the court concludes that

plaintiffs are not entitled to recover costs or attorney's fees

incurred after defendants'           February 21,      2017, offer of judgment,

and   therefore     that     the   amount   of   attorney's        fees     awarded    to

plaintiffs in the May 2, 2018, Final Judgment ($4,241,306.88) must

be reduced by $1,650,748.00 to a total of $2,590,558.88, and that

the amount of costs          awarded to EIG          in the May 2,          2018,   Final

Judgment     ($75,000)     must be reduced by $42,000.00 to a                  total of

$33,000.00. For the reasons discussed in§ II.B.3, above, the court

concludes that defendants are not entitled to recover attorney's

fees incurred after their February 21, 2017, offer of judgment, but

that defendants are entitled to recover taxable costs in the amount

of $11,979.00,      reasonably incurred after its February 21,                      2017,

offer of judgment.         The amount of costs awarded to EIG ($33,000.00)

will therefore be reduced by that amount for a total of $21,021.00.

       Accordingly, Defendants' Motion for Costs Pursuant to Rule 68,

Docket Entry No. 314, is GRANTED IN PART and DENIED IN PART.

       SIGNED at Houston, Texas, on this the 1st day                        gust, 2018.




                                                            SIM LAKE
                                                 UNITED STATES DISTRICT JUDGE




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